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____________________________________________________________________________
                                                 SO ORDERED,
                      IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF MISSISSIPPI

                                                 Judge Jason D. Woodard
                                                 United States Bankruptcy Judge
   IN RE: MARGARET B. HALL                                                        NO. 20-12866-JDW
       The Order of the Court is set forth below. The case docket reflects the date entered.
   COMMUNITY BANK OF MISSISSIPPI
____________________________________________________________________________                MOVANT



   VS.



   MARGARET B. HALL, DEBTOR,
   AND WILLIAM L. FAVA, TRUSTEE                                                     RESPONDENTS



       ORDER ON MOTION TO ABANDON COLLATERAL AND LIFT STAY (Doc 26)
                                                                                                     (JDW)
          This matter having come on before this Court on the motion of Community Bank

   of Mississippi (“Bank”) to abandon collateral pursuant to 11 U.S.C. § 554 and to lift and

   terminate the automatic stay of 11 U.S.C. § 362 and the Court having found that there

   was no response to the motion and it is therefore well taken and should be granted.



          IT IS THEREFORE ORDERED AND ADJUDGED that the Bank's collateral,

   certain real property and improvements located at 109 Glen Eagle Road, Oxford,

   Mississippi (the “Property”), a legal description of which is attached as Exhibit “A”, is

   hereby abandoned pursuant to 11 U.S.C. § 554 and the automatic stay of 11 U.S.C. §

   362 is hereby immediately lifted terminated as to the Bank's collateral to allow the

   Bank to proceed with foreclosure and sale of its collateral. Since the Debtor is
   surrendering the
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   Property, this Order shall become immediately effective and enforceable upon its entry
   and shall not be stayed by Bankruptcy Rule 4001 (a)(3).


                                   ##END OF ORDER##


   Submitted by:

   /s/ Jeff Rawlings
   Attorney for Community
   Bank of Mississippi


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